 8:13-cr-00106-JFB-RCC        Doc # 51    Filed: 05/08/13    Page 1 of 1 - Page ID # 196




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:13CR106
                                             )
       vs.                                   )                   ORDER
                                             )
RUSSELL GLENN PIERCE,                        )
                                             )
                     Defendant.              )


       This matter is before the court sua sponte.
       During the hearing on May 6, 2013, releasing defendant Russell Glenn Pierce
(Pierce), the court announced Pierce would be subject to electronic monitoring in connection
with his home confinement program. The actual written order (Filing No. 46) inadvertently
indicated the home confinement program will not include electronic monitoring. The written
order is in error as Pierce’s home confinement program WILL INCLUDE electronic
monitoring at Pierce’s expense.


       IT IS SO ORDERED.


       DATED this 8th day of May, 2013.


                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
